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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

       UNITED STATES OF AMERICA                      :
                                                     :      Case No. 1:21-cr-225 (DLF)
               v.                                    :
                                                     :
       TRENISS JEWELL EVANS III,                     :
                                                     :
                      Defendant.                     :

 GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR AN EXTENSION
 OF TIME TO FILE SENTENCING MATERIAL AND TO ADJOURN SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits the following response to defendant Treniss Jewell

Evans III’s motion for an extension of time to file sentencing materials and to adjourn sentencing.

As explained below, the government opposes the 30-day continuance requested by Evans. If the

court nevertheless grants a continuance, the government respectfully requests that Evans’

sentencing hearing be held no later than July 15, 2022.

       Even accepting the representations in Evans’ motion on their face, public interest

considerations weigh strongly against a second, last-minute, 30-day continuance of Evans’

sentencing hearing in this case. As the Court indicated in its June 15 Minute Order, “the length of

time that this case has been pending” alone weighs against substantial further delay. Evans’ own

conduct further underscores that interest. In recent months, Evans has engaged in troubling attacks

on social media directed at the agencies investigating and prosecuting his and other January 6

cases. The government cited some of those postings in its sentencing memorandum. See ECF No.

40, at 14-15; Gov’t Sent. Exs. 20, 22. Even more troubling, since the government filed its

sentencing submissions, Evans has escalated his attacks. On May 27, he posted on his GETTR

social-media account that the “DUPLICITOUS PIECES OF DUNG from the Department of

                                                    1
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‘Justice’ will eventually get what you deserve” – words apparently occasioned by the

government’s (entirely legitimate) use of Evans’ own postings in its sentencing memorandum:1




The prompt resolution of this case will hopefully remove the purported predicate for Evans’

increasingly dangerous invectives. Here, moreover, Evans’ latest motion for substitution of

counsel – which Evans filed the day before he filed the instant motion – specifically represented

that “the substitution of counsel will not unnecessarily delay this matter.” (ECF No. 48, at 1).

       For these reasons, the Court should deny Evans’ request to continue his sentencing hearing

and related filing obligations for another 30 days. If the Court is nevertheless inclined to grant a

continuance, the government respectfully requests that any continuance not extend beyond July

15, 2022. The undersigned counsel is assigned to serve at trial counsel in a case scheduled for trial

starting on August 1, 2022, United States v. James Allen Mels, No. 21-cr-00184-BAH (D.D.C.),

and accordingly expects to be immersed in trial preparation in the last two weeks of July. That

pre-existing obligation would conflict with devoting appropriate attention, after July 15, to the

government’s response to Evans’ sentencing memorandum and to Evans’ sentencing hearing.


       1
               https://gettr.com/post/p1blt94f8be (last visited June 16, 2022).
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June 17, 2022                 Respectfully submitted,

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                              D.C. Bar No. 481052

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